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 5   Attorney for MOSES PULIDO-AGUILAR
 6
                                   UNITED STATES DISTRICT COURT
 7
                                   EASTERN DISTRICT OF CALIFORNIA
 8
 9
10   UNITED STATES OF AMERICA,                     Case No.: 11-365 GEB

11                    Plaintiff,                   STIPULATION AND ORDER
12                                                 VACATING DATE, CONTINUING
                vs.                                CASE, AND EXCLUDING TIME
13
14   JOSE AGUILAR-MADRIZ, et al.,                  DATE: October 25, 2013
                                                   TIME: 9:00 a.m.
15                    Defendants.                  JUDGE: Hon. Garland E. Burrell
16
17              IT IS HEREBY STIPULATED by and between Assistant United States Attorney
18   Justin Lee, Counsel for Plaintiff, and Attorneys Clemente M. Jiménez, Counsel for
19   Defendant MOSES PULIDO-AGUILAR; Michael B. Bigelow, Counsel for Defendant
20   DAVID MARTINELLI; Hayes Gable, Counsel for Defendant GABINO CUEVAS-
21   HERNANDEZ; John R. Manning, Counsel for Defendant RONALD REEVES; Dan F.
22   Koukol, Counsel for Defendant ARTEMIO AGUILAR; and Carl E. Larson, Counsel for
23   Defendant JUAN SILVA; that the status conference scheduled for October 25, 2013, at
24   9:00 a.m., be vacated and the matter continued to this Court’s criminal calendar on
25   January 10, 2014, at 9:00 a.m. for further status conference. Defense counsel require
26   additional time to review discovery, conduct additional investigation, and confer with
27   their respective clients. Furthermore, the parties anticipate forthcoming plea agreements
28




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 1   as to the remaining defendants, requiring additional time for counsel to confer with their
 2   respective clients.
 3              IT IS FURTHER STIPULATED that time within which the trial of this case must
 4   be commenced under the Speedy Trial Act, 18 U.S.C. Section 3161 et seq. be excluded
 5   from computation of time pursuant to Section 3161(h)(7)(A) and (B)(iv), (Local code T-
 6   4), and that the ends of justice served in granting the continuance and allowing the
 7   defendant further time to prepare outweigh the best interests of the public and the
 8   defendant to a speedy trial.
 9
10   DATED:           October 22, 2013         /S/   Justin Lee____________________
                                               BENJAMIN B. WAGNER
11                                             by JUSTIN LEE
12                                             Attorney for Plaintiff
13   DATED:           October 22, 2013         /s/   Clemente M. Jiménez
14                                             CLEMENTE M. JIMÉNEZ
                                               Attorney for Moses Pulido-Aguilar
15
16   DATED:           October 22, 2013         /s/   Michael B. Bigelow
                                               MICHAEL B. BIGELOW
17                                             Attorney for David Martinelli
18
     DATED:           October 22, 2013         /s/   Hayes H. Gable
19                                             HAYES H. GABLE
20                                             Attorney for Gabino Cuevas-Hernandez

21   DATED:           October 22, 2013         /s/   John R. Manning________________
22                                             JOHN R. MANNING
                                               Attorney for Ronald Reeves
23
24   DATED:           October 22, 2013         /s/   Dan F. Koukol
                                               DAN F. KOUKOL
25                                             Attorney for Artemio Aguilar
26
     DATED:           October 22, 2013         /s/   Carl E. Larson
27                                             CARL E. LARSON
28                                             Attorney for Juan Silva




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 1                                              ORDER
 2
                IT IS SO ORDERED, that the status conference in the above-entitled matter,
 3
     scheduled for October 25, 2013, at 9:00 a.m., be vacated and the matter continued to
 4   January 10, 2014, at 9:00 a.m., for further status conference. The Court finds that time
 5   under the Speedy Trial Act shall be excluded through that date in order to afford counsel
 6   reasonable time to prepare. Based on the parties’ representations, the Court finds that the
 7   ends of justice served by granting a continuance outweigh the best interests of the public
 8   and the defendants to a speedy trial.
 9   Dated: October 24, 2013
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